
Deaderick, J.,
delivered the opinion of the Court.
L. M. Bramblett died testate, leaving a considerable real and personal estate, and a widow and four daughters.
By his will he left his property, both real and personal, to his wife and children in common, with the further provision that if his wife married then the property, with certain exceptions, should ' be equally *682divided between his wife and daughters, share and share alike. The widow married and the real estate was partitioned.
The rents and profits of the children accumulated, and were invested in land for their common benefit. Subsequently, this land was sold and the fund was ordered to be paid into the Chancery Court, and Anna B. Bright, one of the testator’s daughters, and her husband, applied for their share of the fund by petition, which the Chancellor refused to direct to be paid over to them, upon the ground that the will of her father had directed that the shares of his daughters should not be delivered to their husbands, until application could be made to the Chancery Court, and a deed procured, settling each daughter’s share upon her free from the control of her husband and free from his debts.
The Chancellor was of opinion, and so decreed, that the rents and profits of the estate of the said Anna B., which accrued after the death of her father, and after partition of the lands, were subject to the same trusts and limitations that were imposed upon the corpus of the estate.
This we think was erroneous. It is the estate devised and bequeathed, that the testator declared should be held in trust and should be free from the control of the husband; but the accretions, rents and profits of the estate, the wife may rightfully receive; and as the fund in question is chiefly, if not entirely, proceeds of the sale of real estate in which such rents and profits were invested, it may be paid to her, *683or according to her direction, upon privy examination, as provided in ss. 2483, 3319 of the Code, 3 Head, 714.
The decree of the Chancellor will be reversed, and ■a decree entered here in conformity to this opinion; and as part of • the fund to be distributed is perhaps not yet collected, for the purpose of having it disposed of when collected, as herein indicated, the cause will be remanded. And the petitioners, Bright and wife, will pay the costs of this Court.
